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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. SCOTT2014 OK 13322 P.3d 456Case Number: SCBD-5992Decided: 03/04/2014As Corrected: March 5, 2014THE SUPREME COURT OF THE STATE OF OKLAHOMACite as: 2014 OK 13, 322 P.3d 456

STATE OF OKLAHOMA ex rel. Oklahoma Bar Association, 
Complainant,v.JOEL EDWARD SCOTT, III Respondent.


O R D E R APPROVING RESIGNATION
¶1 Before this Court is an affidavit filed by Joel Edward Scott, III, 
pursuant to Rule 8.1, Rules Governing Disciplinary Proceedings (RGDP), 5 O.S. 
2011, Ch. 1, App. 1-A , requesting that he be allowed to resign his membership 
in the Oklahoma Bar Association and relinquish his right to practice law. The 
Oklahoma Bar Association has filed an Application for Order Approving 
Resignation Pending Disciplinary Proceedings.
¶2 UPON CONSIDERATION OF THE MATTER WE FIND:

  
    1. The Respondent, Joel Edward Scott, III, OBA # 21350, executed his 
    resignation pending disciplinary proceedings on February 13, 2014.
    2. The Respondent was admitted to the practice of law on September 26, 
    2006, and his official and current roster address with the Oklahoma Bar 
    Association is 4301 N.W. 63rd Street, Suite 211, Oklahoma City, 
    OK 73116.
    3. The Respondent's resignation is freely and voluntarily tendered; he is 
    not acting under coercion or duress and he is fully aware of the 
    consequences of submitting his resignation.
    4. The Respondent acknowledges receipt and service and is aware of an 
    amended complaint filed on October 14, 2013, and currently pending against 
    him, alleging seven (7) counts of professional misconduct and violation of 
    his oath as an attorney. The allegations against the Respondent are set 
    forth in the amended complaint which is attached hereto as "Exhibit A" and 
    made a part hereof.
    5. The Respondent acknowledges that the allegations in the amended 
    complaint regarding his conduct, if proven, would violate Rules 1.1, 1.2, 
    1.3, 1.4, 1.4, 1.14(a)(c)(d) and (e), 1.16(d), 3.2, 5.5, 8.1(b) and 
    8.4(a)(b)(c) and (d) of the Oklahoma Rules of Professional Conduct (ORPC), 5 
    O.S. 2011, Ch. 1, App. 3-A, and Rules 1.3 and 5.2 of the RGDP, as well as 
    his oath as an attorney.
    6. The Respondent is aware that a disciplinary hearing is scheduled 
    before the Professional Responsibility Tribunal at 9:30 a.m. on Tuesday, 
    February 18, 2014, through Thursday, February 20, 2014, at the Oklahoma Bar 
    Center. The Respondent is aware that the burden of proof rests upon the 
    Oklahoma Bar Association and he has voluntarily waived any and all right to 
    contest the allegations.
    7. The Respondent is aware of the following grievances filed with the 
    Office of the General Counsel of the Oklahoma Bar Association and the 
    pending investigations thereof, TO WIT:
    a) DC 13-148: Grievance filed by the Office of the General Counsel of the 
    Oklahoma Bar Association, alleging that the Respondent's IOLTA client trust 
    account was overdrawn on September 3 and September 5, 2013. .
    b) DC 13-149: Grievance filed by Terry Frazier, alleging that the 
    Respondent assisted a client in filing a fraudulent lien in the amount of 
    $31,225.00 on real property owned by the complainant in Cleveland County, 
    Oklahoma, following the tornado on May 20, 2013.
    c) DC 13-181: Grievance filed by Kenneth Owens, alleging that the 
    Respondent assisted a client in filing a fraudulent lien in the amount of 
    $59,600.00 on real property owned by the complainant in Oklahoma County, 
    Oklahoma, following the tornado on May 20, 2013.
    8. The Respondent acknowledges that the allegations set forth in the 
    above grievances, if proven, would constitution violations of Rules 1.1, 
    1.2(d), 1.15, 3.1 and 8.4(a)(b)(c) and (d) of the ORPC, and Rule 1.3 of the 
    RGDP, as well as his oath as an attorney. The Respondent is aware that the 
    burden of proof regarding these allegations rests upon the Oklahoma Bar 
    Association and he waives any and all right to contest the allegations.
    9. The Respondent recognizes that the approval or disapproval of his 
    resignation is at the discretion of this Court. He recognizes and agrees he 
    may be reinstated to the practice of law only upon full compliance with the 
    conditions and procedures described by the Rules Governing Disciplinary 
    Proceedings, and he may make no application for reinstatement prior to the 
    expiration of five (5) years from the effective date of this order;
    10. The Respondent has familiarized himself with and has agreed to comply 
    with Rule 9.1, RGDP, within twenty (20) days following the date of his 
    resignation.
    11. The Respondent is aware the Oklahoma Bar Association has incurred 
    costs in the investigation and prosecution of this matter and will file an 
    application to assess costs against him pursuant to Rule 6.15, RGDP. He 
    agrees he is responsible for reimbursement of those costs.
    12. The Oklahoma Bar Association has filed an Application to Assess Costs 
    in this proceeding on February 13, 2014, in the amount of $1,660.72, and is 
    entitled to be reimbursed by the Respondent for those costs.
    13. The Respondent acknowledges that the Client Security Fund may receive 
    claims from his former clients as a result of his conduct and he agrees that 
    if the Oklahoma Bar Association approves and pays such claims, he will 
    reimburse the fund the principal amounts and the applicable statutory 
    interest prior to filing any application for reinstatement.
    14. The resignation pending disciplinary proceedings executed by the 
    Respondent is in compliance with Rule 8.1, RGDP. The Respondent has 
    surrendered his Oklahoma Bar Association membership card simultaneously with 
    his resignation. The Respondent requests that he be allowed to resign his 
    membership in the Oklahoma Bar Association and to relinquish his right to 
    practice law.
    15. The Respondent's resignation should be 
approved.
¶3 IT IS THEREFORE ORDERED THAT the application of the Oklahoma Bar 
Association for an order approving resignation and the resignation pending 
disciplinary proceedings executed by Joel E. Scott, III, are hereby 
approved.
¶4 IT IS FURTHER ORDERED THAT the Respondent's name be stricken 
from the roll of attorneys, and, because resignation pending disciplinary 
proceedings is tantamount to disbarment, he may make no application for 
reinstatement to membership in the Oklahoma Bar Association prior to the lapse 
of five (5) years from the date of this order.
¶5 IT IS FURTHER ORDERED THAT repayment to the Client Security Fund 
for any monies expended because of the Respondent's malfeasance or nonfeasance 
shall be a condition of reinstatement. The Respondent shall comply with Rule 
9.1, RGDP, within twenty (20) days of the date of this order.
¶6 IT IS FURTHER ORDERED THAT the Respondent pay the costs of the 
Oklahoma Bar Association incurred in the investigation and prosecution of this 
matter, in the amount of $1,660.72, within ninety (90) days of the effective 
date of this order.
¶7 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 
4th DAY OF March, 2014.

¶8 ALL JUSTICES CONCUR.

/S/CHIEF JUSTICE
Exhibit A





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